 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 HELEN L. GILBERT (NYBN 4736336)
   LAURA VARTAIN HORN (CABN 258485)
 5 Assistant United States Attorneys

 6          450 Golden Gate Ave, 11th Floor
            San Francisco, CA 94102
 7          Telephone: (415) 436-7200
            Fax: (415) 436-7234
 8          Email: Helen.Gilbert@usdoj.gov
                   Laura.Vartain@usdoj.gov
 9
     Attorneys for the United States of America
10

11                                    UNITED STATES DISTRICT COURT

12                                   NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN FRANCISCO DIVISION

14   UNITED STATES OF AMERICA,                      ) CASE NO. 3:22-CR-00426-JSC
                                                    )
15          Plaintiff,                              )
                                                      PETITION FOR WRIT OF HABEAS CORPUS
                    v.                              ) AD PROSEQUENDUM
16
                                                    )
17   DAVID DEPAPE,                                  )
                                                    )
18          Defendant.                              )
                                                    )
19

20 TO:      The Honorable JACQUELINE SCOTT CORLEY, United States District Judge for the Northern
21          District of California
22

23          Assistant United States Attorneys Helen L. Gilbert and Laura Vartain Horn respectfully request

24 that the Court issue a Writ of Habeas Corpus Ad Prosequendum for the person of prisoner DAVID

25 DEPAPE, whose place of custody or jailor are set forth in the requested Writ, attached hereto.

26 / / /

27 / / /

28 / / /

     PETITION FOR WRIT OF HABEAS CORPUS
     AD PROSEQUENDUM [CASE NO. 3:22-CR-00426-JSC]
 1          The prisoner, DAVID DEPAPE, is required to appear as a defendant in the above-entitled matter

 2 in this Court on the date identified in the writ and therefore petitioner prays that the Court issue the Writ

 3 as presented.

 4

 5

 6 DATED: October 23, 2023                                        Respectfully Submitted,

 7                                                                ISMAIL J. RAMSEY
                                                                  United States Attorney
 8

 9
                                                                                 /s/
10                                                                HELEN L. GILBERT
                                                                  LAURA VARTAIN HORN
11                                                                Assistant United States Attorneys
12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
     PETITION FOR WRIT OF HABEAS CORPUS
     AD PROSEQUENDUM [CASE NO. 3:22-CR-00426-JSC]
                                       2
 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 HELEN L. GILBERT (NYBN 4736336)
   LAURA VARTAIN HORN (CABN 258485)
 5 Assistant United States Attorneys

 6          450 Golden Gate Ave, 11th Floor
            San Francisco, CA 94102
 7          Telephone: (415) 436-7200
            Fax: (415) 436-7234
 8          Email: Helen.Gilbert@usdoj.gov
                   Laura.Vartain@usdoj.gov
 9
     Attorneys for the United States of America
10

11                                    UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                        SAN FRANCISCO DIVISION

14   UNITED STATES OF AMERICA,                        )   CASE NO. 3:22-CR-00426-JSC
                                                      )
15          Plaintiff,                                )   [PROPOSED] ORDER GRANTING PETITION
                                                          FOR WRIT OF HABEAS CORPUS AD
                    v.                                )   PROSEQUENDUM
16
                                                      )
17   DAVID DEPAPE,                                    )
                                                      )
18          Defendant.                                )
                                                      )
19

20          Upon motion of the United States of America, and good cause appearing therefore,
21 IT IS HEREBY ORDERED that the request of the United States for issuance of the Writ of Habeas

22 Corpus Ad Prosequendum requiring the production of defendant DAVID DEPAPE, before this Court on

23 the date stated in the Writ submitted, or as soon thereafter as practicable, is granted and the Writ shall be

24 issued as presented.

25

26 DATED: ___________________                                     __________________________________
                                                                  HON. JACQUELINE SCOTT CORLEY
27                                                                United States District Judge
28

     [PROPOSED] ORDER
     CASE NO. 3:22-CR-00426-JSC
 1                          WRIT OF HABEAS CORPUS AD PROSEQUENDUM

 2

 3 TO:      JAY BIEBER, United States Marshal for the Northern District of California and

 4          PAUL MIYAMOTO, San Francisco County Sheriff, and/or any of their authorized deputies:

 5

 6          Pursuant to the foregoing petition and order, you are directed to produce the body of DAVID

 7 DEPAPE, who is in the custody of the San Francisco County Sheriff’s Office at the San Francisco

 8 County Jail located at 425 7th Street, San Francisco, California 94103 before the Honorable

 9 JACQUELINE SCOTT CORLEY, United States District Judge for the Northern District of California,

10 located at the San Francisco Federal Courthouse, located at 450 Golden Gate Avenue, Courtroom 8, San

11 Francisco, California 94102 beginning on November 6, 2023 at 8:30 am and continuing for the duration

12 of the trial, on the charges filed against defendant in the above-entitled Court.

13

14

15 DATED: ______________________                          CLERK, UNITED STATES DISTRICT COURT
                                                          NORTHERN DISTRICT OF CALIFORNIA
16

17
                                                  By:     __________________________________
18                                                        DEPUTY CLERK

19

20

21

22

23

24

25

26

27

28

     WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. 3:22-CR-00426-JSC
